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                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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       UNITED STATES OF AMERICA,                                 Case No. CR24-107RSL
10
                              Plaintiff,                         ORDER GRANTING
11
                         v.                                      UNOPPOSED MOTION TO
12                                                               CONTINUE TRIAL AND
       ANDY VONGDALA,                                            PRETRIAL MOTIONS
13
                              Defendant.                         DEADLINE
14
15
16          This matter comes before the Court on Defendant’s “Unopposed Motion to Continue
17 Trial and Extend Pretrial Motions Deadline” (Dkt. # 17). Having considered the facts set forth
18 in the motion, and defendant’s knowing and voluntary waiver (Dkt. # 18), the Court finds as
19 follows:
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            1.      The Court adopts the facts set forth in the unopposed motion: in particular, counsel
21
     needs additional time to review discovery with her client, investigate the allegations, and discuss
22
     potential plea, trial, and sentencing consequences with Mr. Vongdala. The Court accordingly
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     finds that a failure to grant a continuance would deny counsel, and any potential future counsel,
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     the reasonable time necessary for effective preparation, taking into account the exercise of due
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     diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).
26
            2.      The Court finds that a failure to grant a continuance would likely result in a
27
     miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i).
28
     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 1
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 1         3.      The Court finds that the additional time requested between the current trial date of
 2 August 26, 2024, and the proposed trial date of December 2, 2024 is a reasonable period of
 3 delay. The Court finds that this additional time is necessary to provide defense counsel
 4 reasonable time to prepare for trial, as defendant has requested more time to prepare for trial, to
 5 continue to investigate the matter, to gather evidence material to the defense, and to consider
 6 possible defenses. The additional time requested between the current trial date and the new trial
 7 date is necessary to provide counsel for the defendant the reasonable time necessary to prepare
 8 for trial, considering all of the facts set forth above.
 9         4.      The Court further finds that this continuance would serve the ends of justice, and
10 that these factors outweigh the best interests of the public and defendant in a speedier trial,
11 within the meaning of 18 U.S.C. § 3161(h)(7)(A).
12         5.      Defendant has signed a waiver indicating that he has been advised of his right to a
13 speedy trial and that, after consulting with counsel, he has knowingly and voluntarily waived
14 that right and consented to the continuation of his trial to a date up to and including December
15 16, 2024, Dkt. # 18, which will permit his trial to start on December 2, 2024.
16         IT IS HEREBY ORDERED that the trial date shall be continued from August 26, 2024
17 to December 2, 2024, and pretrial motions are to be filed no later than October 15, 2024;
18         IT IS FURTHER ORDERED that the period of time from the current trial date of August
19 19, 2024, up to and including the new trial date, shall be excludable time pursuant to the Speedy
20 Trial Act, 18 U.S.C. § 3161, et seq. The period of delay attributable to this filing and granting
21 of this motion is excluded for speedy trial purposes pursuant to 18 U.S.C. §§ 3161(h)(1)(D),
22 (h)(7)(A), and (h)(7)(B).
23         DATED this 26th day of July, 2024.
24
25
26                                                     A
                                                       Robert S. Lasnik
27                                                     United States District Judge
28
     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 2
